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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

DEBORAH RINGO on behalf of                  )
herself and all those similarly situated    )
who consent to representation,              )      Civil Action No.
                                            )      FLSA Collective Action
      Plaintiff,                            )      Jury Trial Demanded
                                            )
v.                                          )
                                            )
MARDI GRAS MANAGEMENT, INC.                 )
d/b/a MARDI GRAS ATLANTA,                   )
a Georgia Corporation, MICHAEL W.           )
FULTON, an individual, and RICK             )
PEFFER, an individual,                      )
                                            )
      Defendants.

                       COLLECTIVE ACTION COMPLAINT

      COME NOW Plaintiff Deborah Ringo (“Plaintiff”), on behalf of herself and

all those similarly situated who consent to representation by, and through her

undersigned counsel, and files this Collective Action Complaint (the “Complaint”)

against Defendants Mardi Gras Management, Inc. d/b/a Mardi Gras Atlanta

(“Defendant Mardi Gras”), Michael W. Fulton (“Defendant Fulton”), and Rick

Peffer (“Defendant Peffer”) (collectively “Defendants”) pursuant to § 216(b) of the

Fair Labor Standards Act of 1938, and in support thereof would further state as

follows:
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                                 INTRODUCTION

      1.     The instant action arises from Defendants’ violations of Plaintiff’s

rights under the Fair Labor Standards Act, 29 U.S.C. §§ 201, et seq., as amended

(hereinafter “FLSA”), and specifically the provisions of the FLSA found at § 216(b)

to remedy violations of minimum wage and the overtime provisions of the FLSA by

Defendants which have deprived Plaintiff and those similarly situated of their lawful

minimum and overtime wages.

      2.     Plaintiff brings this action as a collective action on behalf of herself and

all other similarly situated employees who consent to representation, pursuant to 29

U.S.C. § 216(b).

      3.     Other current and former employees similarly situated of Defendants

are also entitled to receive minimum wage and overtime compensation for the

reasons alleged in this Complaint.

      4.     Plaintiff may be permitted to maintain this action “for and on behalf of

[themselves] . . . and other employees similarly situated.” 29 U.S.C. § 216(b).

      5.     Any similarly situated current or former employee of Defendants

wishing to become a party plaintiff to this action must provide her “consent in

writing to become such a party,” and such consent must be filed with this Court. 29

U.S.C. § 216(b).




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      6.     This action is brought to recover unpaid minimum and overtime wages

owed to Plaintiff and other current and former dancers of Defendants who are

similarly situated to Plaintiff, pursuant to the FLSA.

      7.     Plaintiff and any collective group similarly situated were improperly

classified as independent contractors by Defendants working as dancers.

      8.     During the term of work of Plaintiff, and for at least three years prior

to the filing of this Complaint in the case of any collective group similarly situated,

Defendants committed widespread violations of the FLSA by failing to compensate

workers at the legally appropriate minimum and overtime wages.

      9.     Plaintiff and all similarly situated current and former workers of

Defendants who elect to participate in this action seek unpaid minimum and

overtime wages, an equal amount of liquidated damages, reimbursement of all fees

or kickbacks paid to Defendants by Plaintiff, attorneys’ fees, costs, and other

appropriate relief pursuant to 29 U.S.C. § 216(b).

                          JURISDICTION AND VENUE

      10.     This Court has subject matter jurisdiction over this action pursuant to

28 U.S.C. § 1331 (federal question jurisdiction) and 29 U.S.C. § 216(b) (FLSA).

      11.    Venue for this case lies with this Court pursuant to 29 U.S.C. § 1391

(b) (1) and (2) because a substantial part of events or omissions giving rise to the




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claims occurred within the jurisdiction of this Court and because Defendants are

located in this District and subject to personal jurisdiction in this District.

                                       PARTIES

      12.    Plaintiff lives in the State of Georgia.

      13.    At all times material to this action, Plaintiff and those similarly situated

were “employees” of Defendants defined by § 203(e)(1) of the FLSA, and worked

for Defendants within the territory of the United States. Plaintiff and those similarly

situated are further covered by §§ 203 and 207 of the FLSA for the period in which

they were employed by Defendants as dancers.

      14.    Defendant Mardi Gras was an adult entertainment nightclub located at

6800 Powers Ferry Road NW, Atlanta, Georgia 30339.

      15.    Defendant Mardi Gras was a corporation formed under the laws of the

State of Georgia.

      16.    Defendants conducted business within this State and District.

      17.    Defendants maintained either actual or constructive control, oversight

and direction of Defendants’ business, including the employment and pay and

other practices of those operations of Plaintiff and others similarly situated

      18.    For purposes of this lawsuit, Defendant Mardi Gras can be served

through its registered agent, Cary S. Wiggins, at 260 Peachtree Street, NW #401,

Atlanta, Georgia 30303.


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      19.    Upon information and belief, Defendant Fulton was an owner and

manager of Defendant Mardi Gras and is subject to personal jurisdiction in the State

of Georgia for purposes of this lawsuit and can be served at 408 Middle Valley Ln,

Woodstock, Georgia 30189.

      20.    Upon information and belief, Defendant Peffer was an owner and

manager of Defendant Mardi Gras and is subject to personal jurisdiction in the State

of Georgia for purposes of this lawsuit and can be served at 880 Old Mountain Road,

NW, Kennesaw, Georgia 30152.

      21.    At all times material to this action, pursuant to 29 U.S.C. § 207,

Plaintiff and those similarly situated were employees who in any workweek were

engaged in commerce or the production of goods for commerce and Defendant

Mardi Gras was an enterprise engaged in commerce or in the production of goods

for commerce as defined by § 203 of the FLSA, and had an annual gross volume of

sales which exceeded $500,000.

      22.    At all times material to this action, Defendants were “employers” of

Plaintiff and those similarly situated as defined by § 203(d) of the FLSA.

      23.    The overtime provisions set forth in § 207 of the FLSA apply to

Defendants




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      24.    Plaintiff and others similarly situated are individuals who have worked

as dancers at Defendant Mardi Gras in the three years prior to the filing of this

lawsuit.

                           FACTUAL ALLEGATIONS

      25.    At all times relevant to this Complaint, Defendants employed female

dancers at Defendant Mardi Gras.

      26.    At all times relevant to this Complaint, Defendants have categorized all

dancers working at Defendant Mardi Gras as “independent contractors.”

      27.    At all times relevant to this Complaint, Defendants have not required

dancers to have any specialized training or background. Defendants did not require

applicants for dancing positions to have any experience or training prior to hire.

      28.    At all times for the three years prior to the filing of this Complaint,

Defendants directly and indirectly controlled the dancers’ work schedules.

      29.    At all times for three years prior to the filing of this Complaint,

Defendants posted notices and work rules for its dancers in the dressing room and

imposed discipline upon its dancers, including fines, warnings, suspensions, and

terminations on dancers for infractions of its work rules.

      30.    At all times relevant to this Complaint, Defendants and other managers

supervised dancers on a day-to-day basis including exercising the supervisory

authority to require dancers to change their attire.


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      31.     At all times relevant to this Complaint, Defendants had the discretion

and authority to allow dancers to leave a work shift early. However, if a dancer left

a shift early, Defendants required that they either pay a $20.00 fine or Defendants

prohibited their return to dance for 5 days.

      32.     At all times relevant to this Complaint, Defendants employed a DJ who

operated the music and determined the order and rotation by which the dancers

danced.

      33.     At all times relevant to this Complaint, Defendants maintained a

dressing room for its dancers.

      34.     At all times relevant to this Complaint, Defendants bore all costs

associated with advertising and marketing Defendant Mardi Gras.

      35.     At all times relevant to this Complaint, Defendants made capital

investments in the facilities, maintenance, sound system, lights, beverage and

inventory; and made all hiring decisions regarding waitstaff, security, dancers,

managerial and other employees at Defendant Mardi Gras.

      36.     At all times relevant to this Complaint, the DJ maintained a sign-in

sheet recording the time dancers reported to work. And, the managers recorded the

time each dancer left work at the end of their shift.

      37.     Plaintiff Ringo began working at Defendant Mardi Gras in 2016 as a

dancer until Defendant Mardi Gras closed in March, 2020. Plaintiff Ringo worked


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approximately five days/shift per week and approximately eight hours per shift.

Plaintiff Ringo, at times, worked more than forty hours per week.

      38.       At all times relevant to this Complaint, Defendants failed to pay

Plaintiff any wages or compensation whatsoever and Plaintiff’s sole form of

remuneration was the receipt of tips from the Defendants’ customers.

      39.       At all times relevant to this Complaint and as a condition of

employment, for each shift worked, Defendants required dancers, as a condition of

their employment to pay kickbacks or fees including a $40 shift fee; a “tip out fee”

at the end of each shift of $10 - $15 to the manager on duty; a $20 fee to the DJ; and

a fee each time a dancer used the VIP rooms with a customer.

      40.       Because Defendants did not pay Plaintiff and those similarly situated

any wages, Defendants did not pay Plaintiff and those similarly situated the federally

required minimum wage and one-and-a-half times their regular rate of pay when

Plaintiff and those similarly situated worked over forty hours in a given workweek.

      41.       Upon information and belief, Defendant Fulton knew that under the

law, dancers at gentlemen clubs were legally “employees” not “independent

contractors.”

      42.       Upon information and belief, Defendant Peffer knew that under the law,

dancers at gentlemen clubs were legally “employees” not “independent contractors.”




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      43.     Defendants knew or showed reckless disregard for the fact that it

misclassified the dancers as independent contractors, and accordingly, failed to pay

these individuals minimum wage and overtime at the required rates under the FLSA.

      44.     Plaintiff, on behalf of herself and those similarly situated who consent

to representation, demand a trial by jury.

                    COUNT I – MINIMUM WAGE
          FAIR LABOR STANDARDS ACT, 29 U.S.C. § 201, ET. SEQ.

      45.     The above paragraphs are incorporated by reference as if fully set forth

herein.

      46.     This claim arises from Defendants’ willful violation of the Fair Labor

Standards Act, 29 U.S.C. § 201, et. seq., for failure to pay a minimum wage to

Plaintiff and those similarly situated to which they were entitled.

      47.     The minimum wage provisions of the FLSA apply to Defendants.

      48.     Pursuant to the FLSA, 29 U.S.C. § 206, Plaintiff and those similarly

situated were entitled to be compensated at a rate of at least $7.25 per hour.

      49.     Defendants were not allowed to avail itself of the federal tipped

minimum wage rate under the FLSA, 29 U.S.C. § 201, et. seq., because Defendants

provided no notice to employees of its intention to take a tip credit and because

Plaintiff and those similarly situated were not allowed to keep all of their tip money.

      50.     Defendants, pursuant to their policies and practices, refused and failed

to pay a minimum wage to Plaintiff and those similarly situated.
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      51.      By failing to compensate Plaintiff and those similarly situated

minimum wage, Defendants violated their statutory rights under the FLSA.

      52.      The forgoing conduct, as alleged, constitutes a willful violation of the

FLSA.

      53.      Plaintiff and those similarly situated who consent to representation,

seek damages in the amount of their respective unpaid minimum wage, the amount

of Plaintiff’s paid kickbacks or fees, liquidated damages as provided under the

FLSA, 29 U.S.C. § 216(b), interest, and such other legal and equitable relief as the

Court deems proper.

      54.      Plaintiff and those similarly situated who consent to representation,

seek recovery of attorneys’ fees and costs to be paid by Defendants as provided by

the FLSA, 29 U.S.C. § 216(b).

                     COUNT II – OVERTIME WAGE
           FAIR LABOR STANDARDS ACT, 29 U.S.C. § 201, ET. SEQ.

      55.      The above paragraphs are incorporated by reference as if fully set forth

herein.

      56.      This claim arises from Defendants’ willful violations of the Fair Labor

Standards Act, 29 U.S.C. § 201, et. seq., for failure to pay overtime compensation to

Plaintiff and those similarly situated to which they were entitled.

      57.      The overtime provisions of the FLSA, 29 U.S.C. § 201, et. seq., apply

to Defendants.
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      58.    Pursuant to the FLSA, 29 U.S.C. § 207, Plaintiff and those similarly

situated were entitled to be compensated at one-and-a-half times their regular rate of

compensation for all hours worked over forty hours in any given workweek.

      59.    Defendants, pursuant to their policies and practices, refused and failed

to pay any wage at all to Plaintiff and those similarly situated.

      60.    Defendants did not pay one-and-a-half times the regular rate to Plaintiff

and those similarly situated for hours worked in excess of forty hours per week

because Defendants paid no wages at all.

      61.    The forgoing conduct, as alleged, constitutes a willful violation of the

FLSA.

      62.    Plaintiff, on behalf of herself and those who consent to representation,

seek damages in the amount of their respective unpaid overtime wages, an amount

Plaintiff and those similarly situated paid in kickback or fees, liquidated damages as

provided under the FLSA, 29 U.S.C. § 216(b), interest, and such other legal and

equitable relief as the Court deems proper.

      63.    Plaintiff, on behalf of herself and those who consent to representation,

seek recovery of attorneys’ fees and costs to be paid by Defendants as provided by

the FLSA, 29 U.S.C. § 216(b).




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                              PRAYER FOR RELIEF

      WHEREFORE, Plaintiff, on behalf of herself, and all other similarly situated

who consent to representation, pray for judgment against Defendants as follows:

      a. Issuance of notice pursuant to 29 U.S.C. U.S.C. § 216(b) as soon as

         possible to all dancers who worked for Defendants during any portion of

         the three years immediately preceding the filing of this action. Generally,

         this notice should inform them that this action has been filed, describe the

         nature of the action, and explain their right to opt into this lawsuit without

         fear of reprisal, retaliation, or abuse by Defendants;

      b. Judgment against Defendants for an amount equal to Plaintiff’s unpaid

         back wages and overtime wages;

      c. An equal amount as liquidated damages;

      d. Judgement against Defendants for an amount equal to all kickback and fees

         paid by Plaintiff;

      e. Judgment against Defendants that their violations of the FLSA were

         willful;

      f. An award of prejudgment interest; and

      g. All costs and attorneys’ fees incurred in prosecuting these claims.




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                            MARTIN & MARTIN, LLP

                            By:   /s/Kimberly N. Martin
                                  Kimberly N. Martin
                                  kmartin@martinandmartinlaw.com
                                  Georgia Bar No. 473410
                                  Thomas F. Martin
                                  tfmartin@martinandmartinlaw.com
                                  Georgia Bar No. 482595

                                  MARTIN & MARTIN, LLP
                                  Post     Office      Box       1070
                                  Tucker, Georgia 30085-10170
                                  Telephone 404.313.5538




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